                            Case 4:23-cr-00525 Document 19 Filed on 11/02/23 in TXSD Page 1 of 1
 USA-74-24B
 (Rev. 05/01)
                                                                    CRIMINAL DOCKET
HOUSTON DIVISION                                                      United States Courts                           No. 4:23-cr-00525
                                                                    Southern District of Texas
USAO Number:       2023R06660                                                FILED
Magistrate Number: 4:23-mj-2018                                        November 02, 2023
CRIMINAL INDICTMENT                                        Filed Nathan Ochsner, Clerk of Court Judge:                 Eskridge
                                                                                            ATTORNEYS:
UNITED STATES of AMERICA
                                                                               Alamdar S. Hamdani, USA                      (713) 567-9000
 vs.
                                                                               Richard Bennett and Steve Schammel            (713) 567-9000

                                                                                                                            Appt'd   Private
 Sohaib Abuayyash




                     Ct. 1 - Possession of Firearm by a Prohibited Person, [18 U.S.C. 922(g)(5)(A) and 924(a)(8)].

 CHARGE:
  (TOTAL)
(COUNTS:)
 (     1    )




PENALTY: Ct. 1 - Not more than 15 years imprisonment and/or a fine of not more than $250,000, not more than 3 years supervised
                      release, and a $100 special assessment.




       Sohaib Abuayyash (USMS#10686-506)
       Federal Dentention Center Houston
       1200 Texas Avenue
       Houston, TX 77002

           In Jail                                                              NAME & ADDRESS
                                                                                of Surety:
           On Bond

           No Arrest

                                                                  PROCEEDINGS:
